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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

  PHENIX LONGHORN, LLC,                                  §
                                                         §
               Plaintiff,                                §
                                                         §
  v.                                                     §      Case No. 6:17-cv-00010-RWS-KNM
                                                         §
  VIZIO, INC.,                                           §      JURY TRIAL DEMANDED
                                                         §
               Defendant.                                §

                                        DOCKET CONTROL ORDER

         It is hereby ORDERED that the following schedule of deadlines is in effect until further
  order of this Court:

       3 DAYS after                  Parties to file Motion to Seal Trial Exhibits, if they wish to seal any highly
       conclusion of Trial           confidential exhibits.

                                     EXHIBITS: See Order Regarding Exhibits below.
       May 20, 2019                  9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder, 211 W.
                                     Ferguson St., 3rd Floor, Tyler, Texas.

       Court designated date – not
       flexible without good cause   For planning purposes, parties shall be prepared to start the evidentiary
       - Motion Required             phase of trial immediately following jury selection.
       May 13, 2019                  9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder, 211
                                     W. Ferguson St., Tyler, Texas.
       Court designated date – not
       flexible without good cause
       - Motion Required
       April 15, 2019                9:00 a.m. PRETRIAL CONFERENCE before Judge K. Nicole Mitchell,
                                     211 W. Ferguson St., Rm. 353, Tyler, Texas.
       Court designated date – not
       flexible without good cause   Discuss trial logistics and voir dire procedure. Resolve any pending motions
       - Motion Required             or objections.
                                     Lead trial counsel must attend the pretrial conference.
       April 8, 2019
                                     File a Notice of Time Requested for (1) voir dire, (2) opening statements,
       1 week before pretrial
                                     (3) direct and cross examinations, and (4) closing arguments.
       April 8, 2019
                                     File Responses to Motions in Limine.
       1 week before pretrial
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    April 1, 2019                 File Motions in Limine and pretrial objections.
    2 weeks before pretrial

                                  The parties are ORDERED to meet and confer to resolve any disputes
                                  before filing any motion in limine or objection to pretrial disclosures.
    April 1, 2019                 File Joint Final Pretrial Order, Joint Proposed Jury Instructions with
    2 weeks before pretrial       citation to authority and Form of the Verdict for jury trials.

                                  Parties shall use the pretrial order form on Judge Schroeder’s website.

                                  Proposed Findings of Fact and Conclusions of Law with citation to authority
                                  for issues tried to the bench.
    March 25, 2019
                                  Exchange Objections to Rebuttal Deposition Testimony.
    3 weeks before pretrial
    March 18, 2019                Notice of Request for Daily Transcript or Real Time Reporting of Court
    4 weeks before pretrial       Proceedings due.

                                  If a daily transcript or real time reporting of court proceedings is requested
                                  for trial or hearings, the party or parties making said request shall file a
                                  notice with the Court and email the Court Reporter, Brenda Hightower
                                  Smith, at brenda_smith@txed.uscourts.gov.
    March 18, 2019                Exchange Rebuttal Designations and Objections to Deposition Testimony.
    4 weeks before pretrial
                                  For rebuttal designations, cross examination line and page numbers to be
                                  included.

                                  In video depositions, each party is responsible for preparation of the final
                                  edited video in accordance with their parties’ designations and the Court’s
                                  rulings on objections.
    March 4, 2019                 Exchange Pretrial Disclosures (Witness List, Deposition Designations, and
    6 weeks before pretrial       Exhibit List) by the Party with the Burden of Proof.

                                  Video and Stenographic Deposition Designation due. Each party who
                                  proposes to offer deposition testimony shall serve a disclosure identifying
                                  the line and page numbers to be offered.
    November 7, 2018              9:00 a.m. HEARING ON ANY REMAINING DISPOSITIVE
                                  MOTIONS (INCLUDING DAUBERT MOTIONS) before Judge K.
    Court designated date – not   Nicole Mitchell, 211 W. Ferguson St., Rm. 353, Tyler, Texas.
    flexible without good cause
    - Motion Required




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    June 27, 2018                 Any Remaining Dispositive Motions due from all parties and any other
                                  motions that may require a hearing (including Daubert motions).
    Court designated date – not
    flexible without good cause   Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
    – Motion Required             Motions to extend page limits will only be granted in exceptional
                                  circumstances. Exceptional circumstances require more than agreement
                                  among the parties.

                                  For each motion filed, the moving party shall provide the Court with one (1)
                                  copy of the completed briefing (opening motion, response, reply, and if
                                  applicable, surreply), excluding exhibits, in a three-ring binder appropriately
                                  tabbed. All documents SHALL be double-sided and must include the
                                  CM/ECF header. These copies shall be delivered to Judge Schroeder’s
                                  chambers in Texarkana as soon as briefing has completed.

                                  Respond to Amended Pleadings.
    June 20, 2018
                                  Parties to Identify Rebuttal Trial Witnesses.
    1 week before Dispositive
    Motions
    June 13, 2018                 Parties to Identify Trial Witnesses; Amend Pleadings (after Markman
    2 weeks before                Hearing).
    Dispositive Motions
                                  It is not necessary to file a Motion for Leave to Amend before the deadline
                                  to amend pleadings. It is necessary to file a Motion for Leave to Amend
                                  after the deadline. However, except as provided in Patent Rule 3-6, if the
                                  amendment would affect infringement contentions or invalidity contentions,
                                  a motion must be made pursuant to Patent Rule 3-6 irrespective of whether
                                  the amendment is made prior to this deadline.
    June 6, 2018
                                  Expert Discovery Deadline.
    3 weeks before
    Dispositive Motions
    May 16, 2018                  Parties designate rebuttal expert witnesses (non-construction issues),
    6 weeks before                rebuttal expert witness reports due. Refer to Local Rules for required
    Dispositive Motions           information.

                                  If, without agreement, a party serves a supplemental expert report after the
                                  rebuttal expert report deadline has passed, the serving party must file notice
                                  with the Court stating service has occurred and the reason why a
                                  supplemental report is necessary under the circumstances.
    May 2, 2018
                                  Final Election of Asserted Prior Art.
    8 weeks before
    Dispositive Motions
    April 25, 2018                Parties with burden of proof designate expert witnesses (non-construction
    9 weeks before                issues). Expert witness reports due. Refer to Local Rules for required
    Dispositive Motions           information.
    April 18, 2018
                                  Fact discovery deadline.
    9 weeks before
    Dispositive Motions




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    April 4, 2018
                                           Final Election of Asserted Claims.
    12 weeks before
    Dispositive Motions
    February 22, 2018
                                           Comply with P.R. 3-7. (Opinion of Counsel Defenses). Privilege Logs to
    3 weeks after Markman
                                           be exchanged by parties (or a letter to the Court stating that there are no
    hearing
                                           disputes as to claims of privileged documents).

    February 1, 2018
                                           Markman Hearing and hearing on any Motion for Summary Judgment
    Court designated date – not flexible   of Indefiniteness at 9:00 a.m. before Judge K. Nicole Mitchell, 211 W.
    without good cause – Motion            Ferguson St., Rm. 353, Tyler, Texas.
    Required
    January 18, 2018                       P.R. 4-5(d) Chart due.
    2 weeks before Markman
    Hearing                                The parties are to meet and confer and jointly submit a claim construction
                                           chart on computer disk in Word format listing each party’s proposed
                                           construction for each of the terms to be addressed at the Markman hearing,
                                           including any terms purported to be indefinite. The parties should prioritize
                                           and list the terms in order of most importance; the Court will address the
                                           terms in the prioritized order presented in the claim construction chart.
    January 11, 2018                       Parties to file a notice with the Court stating the estimated amount of time
    3 weeks before Markman                 requested for the Markman Hearing. The Court will notify the parties if it
    Hearing                                is unable to accommodate this request.

                                           Comply with P.R. 4-5(c) - Reply brief and supporting evidence regarding
                                           claim construction due. Plaintiff is to provide the Court with one (1) copy
                                           of the completed Markman briefing in its entirety (opening brief, response,
                                           and reply) and exhibits in a three-ring binder appropriately tabbed. All
                                           documents SHALL be double-sided and must include the CM/ECF header.
                                           These copies shall be delivered to Judge Schroeder’s chambers in Texarkana
                                           as soon as briefing has completed.

                                           If a technical advisor has been appointed the moving party is to provide their
                                           Markman brief on disk or CD along with a hard copy, tabbed and bound
                                           with exhibits to the advisor.
    January 4, 2018                        Comply with P.R. 4-5(b) - Responsive claim construction brief and
    4 weeks before Markman                 supporting evidence due.
    Hearing




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    December 21, 2017        Comply with P.R. 4-5(a) - The party claiming patent infringement shall
    6 weeks before Markman   serve and file an opening brief and any evidence supporting its claim
    Hearing                  construction.

                             Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                             Motions to extend page limits will only be granted in exceptional
                             circumstances.    Exceptional circumstances require more than joint
                             agreement among the parties.

                             Tutorials due. Deadline for parties, if they desire, to provide Court with
                             tutorials concerning technology involved in patent(s). The parties shall
                             submit one (1) copy of their tutorials to the Court. If a technical advisor has
                             been appointed, each party that provides a tutorial shall provide a copy to
                             the advisor.


    December 21, 2017        Proposed Technical Advisors due if one has not already been appointed.
    6 weeks before Markman   Parties to provide name, address, phone number, and curriculum vitae for
    Hearing                  up to three agreed technical advisors and information regarding the
                             nominees’ availability for Markman hearing or a statement that an
                             agreement could not be reached. If the parties cannot agree on a technical
                             advisor, they shall not submit any proposed technical advisors to the Court.
                             If the parties feel a technical advisor is unnecessary, they shall alert the Court
                             at this time.
    December 7, 2017         Discovery Deadline - Claim Construction Issues.
    8 weeks before Markman
    Hearing
    November 30, 2017
                             Respond to Amended Pleadings.
    9 weeks before Markman
    Hearing
    November 22, 2017
                             Mediation Deadline.
    November 16, 2017        Amended Pleadings (pre-claim construction) due from all parties,
    11 weeks before          including inequitable conduct allegations.
    Markman Hearing
                             It is not necessary to file a Motion for Leave to Amend before the deadline
                             to amend pleadings. It is necessary to file a Motion for Leave to Amend
                             after the deadline. However, if the amendment would affect infringement
                             contentions or invalidity contentions, a motion must be made pursuant to
                             Patent Rule 3-6(b) irrespective of whether the amendment is made prior to
                             this deadline.




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    November 9, 2017           Comply with P.R. 4-3 - Filing of Joint Claim Construction and Prehearing
    12 weeks before            Statement.
    Markman Hearing
                               In the P.R. 4-3 filing, the parties shall list the most significant terms
                               according to the parties’ priorities, which were agreed upon during the P.R.
                               4-2 meet and confer, indicating which of those terms will be case or claim
                               dispositive. A maximum of 10 terms will be construed, unless parties have
                               received other instruction from the Court. If the parties cannot agree to the
                               most important 10 terms, the parties shall identify the terms that were agreed
                               upon and then divide the remainder evenly between Plaintiff(s) and
                               Defendant(s).

                               The nonmoving party subject to an indefiniteness challenge must provide a
                               preliminary identification of any expert testimony it intends to rely on in its
                               response to the moving party’s indefiniteness challenge. The nonmoving
                               party shall also provide a brief description of that witness’ proposed
                               testimony.
    October 19, 2017           Comply with P.R. 4-2 - Exchange of Preliminary Claim Constructions and
    15 weeks before            Extrinsic Evidence.
    Markman Hearing
    September 28, 2017         Comply with P.R. 4-1 - Exchange Proposed Terms and Claim Elements for
    18 weeks before            Construction.
    Markman Hearing
    August 7, 2017             Plaintiff and Defendant shall join additional parties. It is not necessary to
                               file a motion to join additional parties prior to this date. Thereafter, it is
                               necessary to obtain leave of Court to join additional parties.

    July 7, 2017               Plaintiff shall add new patents and/or claims for patents-in-suit. It is not
                               necessary to file a motion to add additional patents or claims prior to this
                               date. Thereafter, it is necessary to obtain leave of Court to add patents or
                               claims.

    June 30, 2017              Comply with P.R. 3-3 and 3-4 - Invalidity Contentions due. Thereafter,
    8 weeks after Scheduling   except as provided in Patent Rule 3-6(a), it is necessary to obtain leave of
    Conference                 Court to add and/or amend invalidity contentions, pursuant to Patent Rule
                               3-6(b).

                               Defendant shall assert any counterclaims. After this deadline, leave of Court
                               must be obtained to assert any counterclaims.
    June 12, 2017              Additional Disclosures

                               The parties shall exchange Additional Disclosures as provided by the
                               Discovery Order entered in this case.
    May 12, 2017               Initial Disclosures

                               The parties shall exchange Initial Disclosures as provided by the Discovery
                               Order entered in this case in lieu of the parties obligations under FRCP
                               26(a)(1).




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    May 12, 2017               File Notice of Mediator
    7 days after Scheduling
    Conference                 Parties are encouraged, but not required, to mediate cases. The parties need
                               not include a deadline for mediation unless they have agreed to do so. The
                               parties may jointly file a notice that identifies an agreed upon mediator (with
                               a proposed order appointing the mediator) or indicates that no agreement
                               was reached. If the parties do not reach an agreement, the Court will appoint
                               a mediator if requested. The parties shall confirm the mediator’s
                               availability.
    April 28, 2017             Comply with P.R. 3-1 and P.R. 3-2 - Disclosure of Asserted Claims and
    1 week before Scheduling   Infringement Contentions due. Thereafter, except as provided in Patent
    Conference                 Rule 3-6(a), it is necessary to obtain leave of Court to add and/or amend
                               infringement contentions, pursuant to Patent Rule 3-6(b).

    4 Days                     EXPECTED LENGTH OF TRIAL (excluding jury selection)




         In the event that any of these dates fall on a weekend or Court holiday, the deadline is
  modified to be the next Court business day.

          The parties are directed to Local Rule CV-7(d), which provides in part that “[i]n the event
  a party fails to oppose a motion in the manner prescribed herein the Court will assume that the
  party has no opposition.”




                                                Other Limitations

     (a)     The following excuses will not warrant a continuance or justify a failure to comply
             with the discovery deadline:
               (i) The fact that there are motions for summary judgment or motions to dismiss
                     pending;
              (ii) The fact that one or more of the attorneys is set for trial in another court on the
                     same day, unless the other setting was made prior to the date of this order or
                     was made as a special provision for the parties in the other case;
             (iii) The failure to complete discovery prior to trial, unless the parties can
                     demonstrate that it was impossible to complete discovery despite their good
                     faith effort to do so.
     (b)     Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
             the DCO shall take the form of a motion to amend the DCO. The motion shall include
             a chart in the format of the DCO that lists all of the remaining dates in one column (as
             above) and the proposed changes to each date in an additional adjacent column (if there


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                   is no change for a date the proposed date column should remain blank or indicate that
                   it is unchanged). The motion to amend the DCO shall also include a proposed DCO in
                   traditional two-column format that incorporates the requested changes and that also
                   lists all remaining dates. In other words, the DCO in the proposed order should be
                   complete such that one can clearly see all the remaining deadlines rather than needing
                   to also refer to an earlier version of the DCO.
       (c)         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
                   to include any arguments related to the issue of indefiniteness in their Markman
                   briefing, subject to the local rules’ normal page limits.
       (d)         Motions in Limine: Each side is limited to one (1) motion in limine addressing no more
                   than ten (10) disputed issues. In addition, the parties may file a joint motion in limine
                   addressing any agreed issues. The Court views motions in limine as appropriate for
                   those things that will create a proverbial “skunk in the jury box,” e.g., that, if mentioned
                   in front of the jury before an evidentiary ruling can be made, would be so prejudicial
                   that the Court could not alleviate the prejudice with an appropriate instruction. Rulings
                   on motions in limine do not exclude evidence, but prohibit the party from offering the
                   disputed testimony prior to obtaining an evidentiary ruling during trial.
       (e)         Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
                   good cause. The parties shall use the exhibit list sample form on Judge Schroeder’s
                   website.
       (f)         Deposition Designations: Each side is limited to designating no more than ten (10)
                   hours of deposition testimony for use at trial absent a showing of good cause. As trial
                   approaches, if either side needs to designate more than ten (10) hours, the party may
                   file a motion for leave and show good cause. All depositions to be read into evidence
                   as part of the parties’ case-in-chief shall be EDITED so as to exclude all unnecessary,
                   repetitious, and irrelevant testimony; ONLY those portions which are relevant to the
                   issues in controversy shall be read into evidence.
       (g)         Witness Lists: The parties shall use the sample form on Judge Schroeder’s website.

             ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

  A.         On the first day of trial, each party is required to have:

             (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
                      properly labeled with the following information: Identified as either Plaintiff’s or
                      Defendant’s Exhibit, the Exhibit Number and the Case Number.
             (2)      Three hard copies of each party’s exhibit list and witness list on hand.
             (3)      One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall
                      be tendered to the Courtroom Deputy at the beginning of trial.

  B.         The parties shall follow the process below to admit exhibits.
             (1) On the first day of trial, each party shall tender an “offered” list of exhibits it plans to
                 admit into evidence that day which are NOT objected to, and read that list into the
                 record. Parties shall entitle the list “[Plaintiff’s/Defendant’s] Exhibits Offered on

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            [DATE].” If, during the course of the day’s testimony, a party wishes to offer an
            objected exhibit into evidence, the party may move for admission at the time it wishes
            to use that exhibit with a witness. The Court will then hear the opposing party’s
            objection and will rule on the objection at that time.
        (2) On each subsequent day of trial, parties shall first read into the record any exhibits that
            were admitted over objection from the previous day. The parties shall next tender an
            “offered” list of any additional exhibits NOT objected to that it plans to admit that day,
            and read that list into the record. The list shall be entitled “[Plaintiff’s/Defendant’s]
            Exhibits Offered on [DATE].” Finally, the parties shall tender a separate running list
            of all previously admitted exhibits throughout the course of trial entitled
            “[Plaintiff’s/Defendant’s] Exhibits Previously Admitted through [DATE of the most
            recently completed trial day].”
        (3) At the conclusion of evidence, each party shall read any exhibit that was admitted over
            objection that day into the record and then tender its final list of every admitted exhibit,
            entitled “[Plaintiff’s/Defendant’s] Final List of All Admitted Exhibits.”

  C.    At the conclusion of evidence, each party shall be responsible for pulling those exhibits
        admitted at trial, whether used or not, and tender those to the Courtroom Deputy, who will
        verify the exhibits and tender them to the jury for their deliberations. One representative
        from each side shall meet with the Courtroom Deputy to verify the exhibit list.

  D.    At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties
        and the parties are instructed to remove these exhibits from the courtroom.

  E.    Within five business days of the conclusion of trial, each party shall submit to the
        Courtroom Deputy:

        (1)    A Final Exhibit List of Exhibits Admitted During Trial in Word format.
        (2)    CD(s) containing admitted unsealed trial exhibits in PDF format. If the Court
               ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on
               a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
               be substituted with a photograph in PDF format.
        (3)    A disk containing the transcripts of Video Depositions played during trial, along
               with a copy of the actual video deposition.




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